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EXHIBIT 14
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David S Fleld
10565 Woodland Hts Rd

Dubuque, [A 52003

Dear David \

The enclosed check from Exponential Wealth Inc for $54000/7700 fs belng returned to
you for the reason listed: Non Sufficient Funds ;

The funds have Lecs removed from your Checking account ending in

0748 ,

For any questions you have on the reason of this return, please contact the account holder of the
enclosed check.

If you have any questions, please call (563) 557-7600 / 800-373-7600, Ext, 0,

Thank you,

Dupaco Proof Team

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Dupaco's Shine Online Banking” Page lof2
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ke NSF CK Exponential Wealth 01/09/20 None ($7,700.00)
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Routing Number:.

800-373-7600

P.O, Box 179

Dubuque, iA 52004-0179

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